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                                                          DILLION
                                              ATTORNEYS AT LAW




                                            FRANCIS E. QUINLAN
                                            Francis.Quinlan@ndlf.com



                                            February 8, 2019



Hon. Douglas F. McCormick
United States Magistrate Judge
Ronald Reagan Federal Building
United States Courthouse
411 West Fourth Street, Suite 4170
Santa Ana, CA 92701-4597

       Re:     ALVAREZ, JOSEPH
               Docket No. 0973 8:18CR00048-1

Dear Judge McCormick:

        In light of the court's Tentative Sentencing Memorandum, which includes consideration
of incarceration of Mr. Alvarez for a period of three months, the defendant respectfully requests
the court consider the attached letters obtained in support of Mr. Alvarez and addressing the
effects of incarceration with respect to Mr. Alvarez, his family and the caregiving businesses that
he administers. Although some of the writers address the question of whether any of the
caregivers were coerced into paying money back to the limited liability company of which they
were members, it is not the defendant's intent to argue that issue. He recognizes the seriousness
of the mistake he made in reversing the payments and has accepted the U.S. Attorney's
recommendation for sentencing without challenge. For that reason, he did not submit a
sentencing memorandum, but one will be submitted in brief under separate cover along with the
court-ordered objection to the probation officer's sentencing recommendation to the court.

        Attached are copies of letters from the following individuals, who are described by name
with a brief statement of their relationship to Mr. Alvarez and the caregiving entities:

       1.      Letter from Clinton L. Hubbard, Esq.

               Mr. Hubbard is civil counsel for Joseph Alvarez and the Agape Cottage Care LLC
               which is the subject of the Department of Labor proceedings. Mr. Hubbard
               represented Mr. Alvarez and the LLC throughout the proceedings and his letter
               provides background information that may be useful to the court in making a final
               sentencing decision.




               1333 N. CALIFORNIA BLVD      895 DOVE STREET            3800 HOWARD HUGHES PKWY
                      SUITE 600                 5TH FLOOR                      SUITE 700
              WALNUT CREEK, CA 94596     NEWPORT BEACH, CA 92660          LAS VEGAS, NV 89169
                    T 925 988 3200            T 949 854 7000                 T 702 777 7500
                   F 925 988 3290             F 949 854 7099                 F 702 777 7599
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      2.    Letter from Randall Malt

            Mr. Mah is the accountant to Mr. Alvarez and the caregiving homes originally
            held in LLC ownership. Mr. Mah provides detailed information concerning how
            he advised and assisted Mr. Alvarez with the LLC system of managing the care
            homes. The court will note that Mr. Mah met Mr. Alvarez at a church function
            and his letter, as well as those of many of the others attached hereto, have a
            church and religious background connection.

      3.    Letter from Steven Martinson

            Mr. Martinson writes as a peer care home owner and operator of elder care
            homes. He notes the dichotomy between the state and federal laws, including
            internal to the state of California between the Franchise Tax Board and the
            Department of Social Services, although Mr. Martinson does not mention that
            there was an audit by the California Department of Social Services which did not
            result in a negative finding against the care homes operated under Mr. Alverez'
            administration. Note for the court that Mr. Alvarez holds the formal license of
            Administrator, which is required by the Department of Social Services.

      4.    Letter from Ron Ovadia, PhI)

            Mr. Ovadia is a public relations individual who did some work for the care homes
            administered by Mr. Alvarez. Mr. Ovadia offers his personal opinion that
            Mr. Alvarez has expressed publicly his remorse.

      5.    Letter from Gideon Limpado

            Mr. Limpado is a caregiver and one of the members of the Agape LLC. He offers
            some insight into the character and attitude of Mr. Alvarez towards the caregiving
            responsibilities he undertook as Administrator.

      6.    Letter from Rowena P. Hilario

            Ms. Hilario is a former Agape caregiver and she offers her view of Mr. Alvarez'
            character.

      7.    Letter from Remigio Villanueva

            Mr. Villanueva was also an Agape caregiver and he offers character insight to
            Mr. Alvarez' sense of humanity and responsibility.

      8.     Letter from Rowel Rivera

            Ms. Rivera writes as a friend and fellow caregiver in support of Mr. Alvarez and
            offers insight into Mr. Alvarez' character and family responsibility.
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      9.    Letter from Vener Supan

            Mr. Supan is a caregiver with Agape and he writes to attest to the character of
            Mr. Alvarez. In particular, his generosity in loaning money to assist Mr. Supan
            and other caregivers when they were in need.

      10.   Letter from Maruja Camillon

            Ms. Camillon is an Agape caregiver also, and she writes about Mr. Alvarez' offer
            of financial assistance when she and her family were harmed by typhoon Yolanda
            in the Philippines. She offers insight into Mr. Alvarez' character.

      11.   Letter from Conrad() Santa Cruz

            Mr. Santa Cruz is also a caregiver and he writes of his friendship with
            Mr. Alvarez and Mr. Alvarez' concern for the welfare of those for whom he is
            responsible as an administrator.

      12.   Letter from Marian Mejia

            Marian Mejia is the spouse of Joseph Alvarez. She has three children by
            Mr. Alvarez and offers the expected concern of a mother and a wife at the
            prospect of her husband's incarceration. She speaks also to the family nature of
            the caregiver group and the ways in which Mr. Alvarez works to administer them
            in a human and beneficial way, almost as a caregiver himself to his fellow
            caregivers. Ms. Mejia also notes that some of the types of residents of the homes
            are people with significant injuries such as brain damage and other physical
            limitations. She also notes that the caregiving homes have taken in homeless
            people.

      13.   Letter from Lonnie Fischer

            Lonnie Fischer is a co-administrator with Mr. Alvarez and as such, he holds a
            license that places him in the same position and responsibility to oversee care
            homes and those who work in them. Mr. Fischer refers to Mr. Alvarez as his
            "business partner." I have spoken to Mr. Fischer twice concerning the exact
            nature of the relationship and the fact that he is licensed as a home administrator.
            Mr. Fischer also told me, although he didn't mention in his letter to the court, that
            the substantial sum of money that he was paid under the Department of Labor
            agreement, he believed was not owed to him because he functioned as a licensed
            administrator and more as an informal partner of Mr. Alvarez. Under the separate
            cover of the objection to the probation officer's sentencing memorandum, further
            note will be taken of the sums of money paid out of the limited liability company
            in the years 2014 and 2015 back to the listed members as the LLCs were closed to
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               conform to the Department of Labor's characterization of the members as
               employees.

       14.     Letter from Jeffrey Turcotte

               Mr. Turcotte is a fellow church member in Irvine and he speaks of Mr. Alvarez'
               character and how Mr. Alvarez had represented his intent in administering the
               care homes in a family-like and loving manner

         The court is requested to consider these statements as independent products. The
undersigned did not play any part in obtaining them, other than to give Mr. Fischer the address to
address his letter to the court. Mr. Hubbard assisted with obtaining and forwarding some of the
letters to the undersigned so that they may all be put together and provided to the court in an
efficient and orderly fashion. Mr. Alvarez was cautioned not to speak to any of the caregivers in
such a manner as to suggest what they should say and he understood and I believe he complied in
obtaining letters that read as though they are unforced.

                                                    Respectfully submitted,



                                                  ,-.F'rancis E. Quinlan


FEQ

cc:    Daniel Aim, Esq., Assistant US Attorney
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                         LAW OFFICES OF CLINTON L. HUBBARD
                                              ATTORNEY AT LAW
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                                           TELEPHONE: (949) 475-4480
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                                             CIintib,chubbardl aw.net




                                           February 6, 2019

  Honorable Douglas F. McCormick
  United States Magistrate Judge
  UNITED STATES COURTHOUSE
  Santa Ana, California 92701

         Re: Alvarez, Joseph
             Docket No. 0973 8:18CR00048-1

  Dear Judge McCormick:

         This letter is in response to the request of counsel for Joseph ("Joey") Alvarez to shed
  light on the Department of Labor ("DOL") proceedings which resulted in a Back Wage
  Compliance. and Payment Agreement on March 31, 2015 (the "Order") between the DOL and
  Agape Cottage Care LLC (the "Agape LLC"). As discussed below. I was retained to represent
  Agape LLC in the DOL matter.

          As a matter of background, Agape LLC was formed on January 1, 2012, consisting of
  members providing care for the elderly residing in several assisted living facilities. This
  business structure was based on Joey's desire to have caregiver's own and operate their own
  business rather than the traditional minimum wage employment relationship prevalent in assisted
  living facilities. The caregivers reside in the facility, usually a residential house converted to
  provide room and board for 6 residents and the caregivers.

         Agape LIC was a business model whereby caregivers owned their business, which
  promoted better service for the elderly residents, and greater retention over the normally high
  turnover with employees in this industry. Agape LLC was formed under the guidance of Joey's
  accountant with no lawyer involvement. Joey owned just a 2% interest in Agape LLC, and he
  was paid a fee to provide the facility, supplies and licensing under a written Management
  Services Agreement.

          In January 2014 the DOL gave notice of its investigation of Agape LLC. We provided
  the investigator with all documents relating to the formation of Agape LLC, profit and loss
  statements for 2012 and 2013, and all K-1 statements given to the caregivers for income based
  on their respective ownership interests. Agape LLC and its owner members had filed their tax
  returns as a limited liability company, and its member caregivers based on their K-1 profit
  distributions
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  Honorable Douglas F. McCormick
  Re: Alvarez, Joseph/Docket No. 0973 8:18CR00048-1
  February 6, 2019
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         The DOL refused to accept a limited liability company with owner members' as
  caregivers. After 15 months of investigation and discussions, in May of 2015 the DOL ordered
  that Agape LLC was an "employer", and therefore was liable for wage and hour violations to its
  members as "employees". in other words, the members of Agape LLC were required to pay to
  themselves the amounts ordered by DOL due each member for back wages, even though such
  members/"employees" had also received profit distributions as owners of Agape LLC during the
  relevant time period, Due to the DOL ruling, Agape LLC was formally dissolved in 2015.

          Almost 18 months after the DOL Back Wage Order, a former member of Agape LLC
  filed suit in the Orange County Superior Court on October 14, 2016. Rohna Ramos brought a
  class PAGA action, contending that the members had been "coerced" into returning the back
  wages awarded by the DOL to their company Agape LLC. Again, the DOI, had ruled that
  Agape LLC was an "employer", and its members were its. "employees" rather than owners.
  Under the DOI, Order, the members of Agape LLC owed themselves the back wages.

         Agape LLC had around 18 members. After a year, Ms. Ramos and her counsel -Were
  unable to get a single member of Agape I.LC to join in the class action. Mr. Alvarez paid Ramos
  the $18,602.46 ordered by the DOL for back wages with interest and costs by settlement, and the
  case was dismissed in early 2018.

          The Ramos' lawsuit caused me to investigate whether Mr. Alvarez had coerced or
  wrongfully influenced any of the members of Agape LLC to return back wages awarded to such
  members by the DOL. as "employees" of Agape LLC. My investigatiOn revealed that the
  contested allegations of Ms. Ramos in her lawsuit was the only claim in this regard. I am not
  aware of any written statements with a claim of coercion or undue influence made by Agape
  LLC members regarding.the DOL back wage award, with the exception of Ms. Ramos.

         While representing the Agape LLC, I got to know Joey and his wife Marian. I was
 impressed by their devotion to quality care for the elderly residents in Agape LLC facilities. I
 was also exposed to their relationships with the caregivers who owned Agape LLC. It was a
 "family" atmosphere, in large part due to the fact that the members were respected as critical to
 the goal of quality care of those that need it daily — a difficult and demanding task. Simply put,
 the members were owners of Agape LLC and never treated as replaceable minimum wage
 "employees", and they never left Agape LLC. After Agape LLC dissolved, Mr. Alvarez assisted
 its members in obtaining their own licenses for their own care facilities.

                                      Respectfully,



                                      Clinton L. Hubbard
 CLII:mg
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  February 3, 2019

  Honorable Douglas F. McCormick
  United States Magistrate Judge
  United States Court House
  Santa Ana, California 92701
                                                       Re: ALVAREZ, Joseph
                                                       Docket No. 0973 8:18CR00048-1

  Dear Judge McCormick,

  I am writing this letter in support of Joseph Alvarez and to attest to his character. I have known
  Joey for over seven years. I met Joey while he was an attendee of a church retreat called "Christ
  Renews His Parish", in which I functioned as the lay-director, and sponsored by St. Thomas
  More Catholic Church in Irvine, California.

  After the retreat, Joey joined our men's Bible study and became active in the men's ministries at
  St. Thomas More. I saw him as a devoted father and husband who was always seeking to help
  those less fortunate than himself, whether in their personal or business lives.

  I found out that Joey was involved in the homecare business. It was soon apparent to me that he
  cared for the welfare of not only the elderly in his homes, but also for their caregivers. He was
  aware of the abusive conditions that caregivers work under in much of the industry and he
  wanted to change that. He shared his vision with me regarding this, and he saw the future of
  residential Sixbed care homes through a new paradigm, which was the instilling of a "family"
  environment in each care home; a new relationship, both professional and personal, between the
  caregivers and those they cared for.

  He asked for advice on how he could help caregivers become entrepreneurs and eventually
  become owners of their own Sixbed care homes, thus giving them incentive to build the kind of
  environment that Joey envisioned. He asked for my advice specifically, because I am in the tax
  and accounting field. As we talked, we came to the conclusion that the caregivers, as employees,
  would not be able to "grow" and learn how to operate and be owners of their own care homes or
  even open their own caregiving services as the present business model stood.

  Joey was aware that the pride of ownership, which gives one the desire to do something better
  than it is being done, would benefit not only the caregivers, but the elderly living in the homes,
  as well. However, he would naturally need the support and willingness of the caregivers to move
  forward, and they agreed. A partnership was formed with the caregivers in the knowledge and
  agreement that they would be receiving Kls for their earnings and would be filing returns to pay
  their taxes, both income and self-employment taxes, which to my knowledge, all the partners did.
  Income taxes as well as social security taxes in the form of self-employment taxes were to be
  paid by each partner. There was never at any time money stolen or misappropriated from the
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  partnership to which the caregivers were entitled. There were discussions regarding the
  employee-employer relationship issue, but because of the goal of both Joey and the caregivers, it
  was not considered a problem. To the shock of all involved, the DOL felt differently. Because
  of the ruling concerning the employee-employer relationship of the LI,C, the 1A,C was dissolved,
  and any remaining assets were distributed to the members. However, this letter is not to argue
  the merits of the employee-employer relationship, but to attest to Joey's character.

  In the discussions between Joey and I, mentioned above, there was no talk of evading taxes,
  defrauding caregivers or of pressuring the caregivers to agree to the new arrangement. If there
  were, I would not be writing this letter. On the contrary, the discussions always centered on how
  the everyday practices of the homes would benefit residents if the caregivers were
  partner/owners or if they were employees. In our opinion, the pros of being a partner greatly
  outweighed being an employee.

  Joey's intent has always been to protect and benefit caregivers financially and to provide a
  means by which they could grow in self-worth, owing and growing their own businesses into
  something productive and beneficial; not only within the industry, but to the community at large;
  something they could take pride in, and would allow them to remove themselves out from under
  the whims of an abusive employer. If you know anything about the smaller business models
  within the elder care industry, you must be aware that this is a common occurrence, one that
  leads to frequent caregiver burnout, which leads to negligent care of the elders under their care.
  At this point in time, I believe that some of the caregivers in question have gone on to establish
  their own profitable caregiving businesses.

  I am not sure if the court or the prosecution has considered interviewing any of the caregivers or
  the family members of those they provide care for, but I would encourage both the court and the
  prosecution to do so, or to visit the homes in question and see for themselves. I believe my
  assessment of the situation will be verified.

  It would be a great travesty, considering both his motives as well as his documented business
  practices throughout, if Joey were to be sentenced to prison for any length of time. He has paid
  heavily for trying to bring his vision to reality. In light of all this, I would ask for the court's
  wisdom and discernment to prevail in this sentencing proceeding. Not only for Joey, but for his
  children to whom he is a devoted father and wife Marian to whom he is a devoted husband.

  I thank you in advance for your time to read this letter, and I pray that this letter and other letters
  will attest to you of Joey's character, his heart, and his intentions in this situation as well as in
  the whole of his life.

  Respectfully yours,

  Randall Mah.
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  February 6, 2019
  Honorable Douglas F. McCormick
  United States Magistrate Judge
  United States Court House
  Santa Ana, California 92701

  Re: ALVAREZ, Joseph
  Docket No. 0973 8:18CR00048-1

  Dear Judge McCormick,

  My name is Steve Martinson and I have known Joey Alvarez and his wife and girls for many
  years. I am also the owner and operator of a similar type of health care business, in which my
  home takes care of 6 people in a home environment. I have a staff of healthcare workers that I
  employ 24 hours per day, 7 days per week. These types of Home Care businesses do present
  a dichotomy between the laws and rules of the Franchise Tax Board, the Labor Board, and the
  Department of Social Services, California Department of Public Health.

  I would like to Testify as to the Character of Joey Alvarez. Joey is a man with a very high moral
  standard for himself, however he does not hold others to the same standards. Within that gap
  Joey has developed the Virtue of Humility. A Virtue that is lost in this world, in this day and age
  where even good people have self serving agendas, there are very few humble people. If
  Humility was Joeys only quality, that would be enough to set him apart as having a good quality
  of character. However, Joey is also selfless and giving, he has compassion for others and he
  shares his Joy with everyone. To know the Character of Joey, you would need to spend time
  with him, you would have to interview the people that know him, you would have to know much
  more then what is written on court papers, or what his accusers would say about him. One of
  Joeys most noble virtues would not allow him to fight back or stand up for himself, he is humble.

  In many countries, when Mom and Dad get older and need some additional help, the kids move
  them into their house. The family takes a break from their own lives and gives back to their
  parents, or grandparents. In California, we start looking for someone else to take care of our
  parents or grandparents. We hire people to go to their homes, we look for more permanent
  placement and send Mom or Dad to an assisted living facility, nursing home, or a Residential
  Care Facility. A list of very complicated emotions are experienced at this crossroads at this
  point in the family journey. Joey has found his purpose in life at this crossroads. If I were ever
  in the position where I needed to send my Mom for daily living help, I would not hesitate to ask
  Joey to guide us thru the treacherous waters. Our healthcare system is very broken, not every
  patient gets the help they need or deserve, many of these facilities are understaffed with
  workers that have lost sight of why they are working there, they earn minimum wage for a very
  difficult job. Social Services and CDPH, have very specific rules and Minimum standards that
  must be met, and in dichotomy with the California Department of Labor and Franchise Tax
  Board.
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  I have first hand experience working with patients and families that need much more than they
  can afford to pay. As the owner of a facility myself, I often must turn away people because they
  don't have enough money to pay my monthly fee for care. The need for good care is very high,
  but more often than not, the family just doesn't have enough money to pay for the service. I
  have first hand accounts of Joey admitting residents that don't have enough money to pay the
  monthly fee. I recall one patient in particular, a young man that had a Traumatic Brain Injury
  and the family had no resources to take care of him. Joey took him in to one of his homes for
  Free, and cared for him for months before he was able to negotiate funding thru a waiver
  program offered by the state. Joey is selfless and works constantly to make this world a better
  place. He does this in his own small way by doing what is good and compassionate. Joey is
  thoughtful and creative, he is always trying to make things better. In the world of Healthcare it is
  easy to find someone in need of an answer to a life and death problem. It takes a special
  person to put themselves in the middle of the most stressful situation in someone else family.
  As I stated earlier, our healthcare system is broken, it is expensive, but underfunded,
  emotionally charged with luke warm caregivers because they are burnt out and mostly
  unappreciated. Regardless of what is best for a particular patient, there are certain rules that
  must be followed, fees and taxes that must be paid, and liabilities that must be taken into
  consideration and accounted for. Remember, this is the life and death and the quality of life that
  is determined for the person you love the most in life. The system is broken mainly because the
  quality of care received is predicated on the one person that is the advocate for that one patient.

  Joey succeeded at creating an environment and a culture that is Life-giving and a positive family
  experience for the residents, the families, and the caregivers. Making the caregivers owners of
  the business, and advocates of the patients giving them a stake in the results of the care that
  they provide. Joeys ideas have revolutionized and revitalized the relationships between the
  patients and the caregivers, and the families of the patients. I believe that if you were allowed to
  speak to some of the caregivers and families of the patients you would discover a consistent
  theme. You would certainly find that there would be far more blessed, then not.

  Your Honor, I can not speak to the legal matters of this case, but I can speak to the justice of it.
  The incarceration of Joey would not serve the interest of anyone. It would only deprive the few
  people in the world that are lucky enough to come across his path, of his generosity and other
  virtues.

  Thank you for taking the time to read my letter.

  God Bless your work today,



  Steven Martinson
  714 747-6546
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                   BRAND ESSENCE SOLUTIONS • rorntarwt.taiellmail.com • 949 244-1974




       GratglEssorice


      February 5, 2019

      Honorable Magistrate
      Judge Douglas F. McCormick
      United States District Court
      411 W. 4th Street
      Santa Ana, CA 92701

      Re: Joey Alvarez                      (USA v. Alvarez; Case # 8:18-cr-00048-DFM)

      My name is Ron Ovadia. I am the head of Brand Essence Solutions and formerly Executive
      Creative Director for Pacific Communications, Orange County's largest healthcare advertising
      agency. I am also someone who has had the great privilege of working closely with Joey Alvarez
      and CareAgape Senior Homes for two years, on marketing and messaging. I have come to know
      Mr. Alvarez as a hard-working, caring, family man who is an asset to the community, providing
      senior residence homes throughout the county that are a blessing to seniors and their families.

      I have visited several of these homes and have seen firsthand the level of care provided, the
      happiness in the residents, and the genuine attention and kindness Mr. Alvarez shows. I believe
      helping seniors is his mission in life, and I would hate to see him deprived of that opportunity.

      I understand Mr. Alvarez has had some legal problems. While I am not here to dispute the
      charges against him, I find it hard to believe that those who are supposed victims of his actions
      would testify against him if given the opportunity. That said, Mr. Alvarez feels a great deal of
      remorse for any wrongdoing, even if it was not intentional or malicious, as I suspect it wasn't. At
      this point, he wants very much to learn from this whole experience and move on with his life,
      continuing to give back to the community in any way he can.

      Any sentence that might involve prison time would be a tremendous hardship to Mr. Alvarez's
      wife and three young daughters. It would also be a hardship to the senior homes whose caregivers
      look to Joey for guidance and support. In my opinion, it would also be excessive punishment.

      I hope you will weigh whatever civil action that has been brought against the defendant with his
      character. Mr. Alvarez is an honest, decent man who, if guilty of any transgression, was likely
      unfamiliar with the labor la\Vs involved. He is not a criminal or a man who deserves to go to jail.

      Thank you for any consideration and leniency.

      Yours,

      RO-tili 0 vaditay
      Ron Ovadia, PhD
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February 7, 2019



The Honorable Judge Douglas F. McCormick

Re: JOEY ALVAREZ



My name is Gideon Limpiado and one of the members of the Agape Carepartners. I am writing this letter on behalf
of Joey Alvarez, I call him boss, business partner, and a good friend.



I've known Joey for almost 9 years. He is a very kind, fair and honest person. Through Joey's hard work and his
dedication to the caregiving for the elderly community expanded, he was and is able to provide us a jobs opportunity.
I have seen him over the years, help several people without asking or thinking of any return. He's a type of person
who will never say NO if you ask some favor.



He has always had a keen interest in doing something for the society specially the elderly community. I remember
one of our residents who is very hard to take care and always gives us a lot of trouble. We asked him why not send
him (Ron) to a more secure and safe a facility for his condition. Joey said that he sees his own DAD on him and our
goal is to take care, give them love as a family and a quality life they deserved. And he also pointed out that this
people need our patience and understanding. I remembered Joey telling me that "its not part of our mission/vision
to evict or send someone out but we welcome them in our facility and give them love and care were others can't".


I am aware that Joey Alvarez is being tried because he has supposedly broken the law. I strongly feel that if that if
that's the case it would be better to serve the community and Joey that he be not sent to prison. Sentencing him to
a term in prison would only cause the society to lose a citizen who could be a valuable asset.



Joey is also a family man. He's a good husband to his wife and a dedicated Dad to his 3 daughters. He always sees to
it that weekends is for the family. We can see him how he take care of his family. He's with them in any school
activity. His a all season to his wife and daughters. We even have numerous time that were able to go with them for
free in those vacations.



Joey Alvarez is a good person who like others deserves a chance. I humbly ask you to give him an opportunity to set
his life back and let a bad decision alter his life's direction.



If you have any further questions, please fell free to contact me on 562-365-4155.



Yours sincerely,

Gideon Limpado
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  February 6, 2019

  Dear Honorable Magistrate, Judge Douglas F. Mc Cormick,

           Since I met Joseph Alvarez, I have known him to be a good person, a good family man, a
   good friend to all people around him. I feel so blessed and so comfortable working with him as
  my peer in the senior care industry. I call him boss out of respect, and a cultural term for
  respect in our original Country, The Philippines. He has never acted like a boss but a mentor
  helping me learn how to run and operate senior homes, but the bottom line is we take care of
  seniors and attend to families' needs. We are both caregivers at heart. He has always been
  helpful to me and most of all has been a good friend to me. I have in many occasions borrowed
  money from him, gone to him when 1 have problems and he is always there for me as a friend. I
  consider him a brother. When we have resident move ins, he is always there ready to pick up
  the seniors' things with his truck, free of charge to the families. When a resident needs to be
 taken to the doctor and the family cannot take them to the doctor, I call Joey for assistance
'with my resident's needs and he is always there if his schedule permits to drive the residents to
 their doctor's appointments. To the outside world he looks like a savvy businessman, but at the
 end of the day we are both caregivers, God loving men, brother's in Christ, and a family man,
 provider to our families. Please have the heart of consideration, as you make your decision
 regarding his sentencing. I know that I have been named as one of his victims. I am here to tel
 the truth, that Joey Alvarez has never harmed me in any way. Please keep him out of jail
 because the community needs him. He helps a lot of caregivers, seniors, families and anyone it
 the community who needs help. I care deeply for his family, his wife and kids, as he has alway!
 cared for my welfare. Thank you so much for your time.

Sincerer,

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                                                                    February 6, 2019



   This letter is a sympathy request to honorable Judge F. McCormick. I am Rowel Rivera, caregiver and
   personal friend of Joey U. Alvarez. Please forgive my friend and co worker in the senior care business for
   any wrongdoing he may have done to the Federal Government. I was named as one of the possible
   victims. Thank you for taking time to read this and to allow me to testify that Joey Alvarez is a good man
   and has never forced me to do anything. He has always been good to me and always helps me for
   anything that I need. I love his family and care for his children. Please keep him a free man as his wife
   and children need him. Caregivers like me and the seniors that we take care of depend on his guidance
   and help. I am so saddened that Joey is going through all this trouble and accusations when all I have
   seen him done is help everyone around him. I testify under God, that Joey Alvarez is a good man and I
   am asking for your consideration to keep him out of jail. Joey Alvarez is a God loving family man who
   has been helping the community. Him being in jail would be a loss to me and the community.



   Sincerely,



   Rowel Rivera




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          Case 8:18-cr-00048-DFM Document 36 Filed 02/11/19 Page 16 of 21 Page ID #:168
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Case 8:18-cr-00048-DFM Document 36 Filed 02/11/19 Page 17 of 21 Page ID #:169




                                                                    February 6, 2019



   To the Judge Douglas F. McCormick,

            I met Joey Alvarez since May 13, 2011. I have been working closely with him taking care of
   seniors since then. We have been having fun at work serving the seniors and at the same time we have
   been like family to each other and the seniors we take care of. Since I met him, he has talked about how
   the seniors deserve to be treated like family and caregivers are the heart of the senior homes. He has
   always valued the work that we do and treated me, my family and the people around him with love and
   respect. He has always encouraged us to stay close with God and to keep a balanced life with work and
   personal life, that it cannot be all about work and that we should enjoy life and take time to relax and
   enjoy. When my family was affected by the typhoon Yolanda in the Philippines, my family lost
   everything, our house and personal belongings. I went to him and asked for help to assist me financially
   to recover from all that we lost. He gave me money so my family can rebuild a home, to survive and buy
   our basic necessities again. When I need help for simple things like buying are new computer for my
   kids or any emergencies, he is always there to help me. When I got sick he helped me right away and
   asked my sister to take me to the doctor and he gave me money to pay for the costs. Anytime, I just
   need a friend to talk with, laugh with, he is there for me and my family. He is a big and important part of
   my life and thankful for the friendship that he has extended. He does not just treat me as a friend but as
   a family. Please see that Joey Alvarez is a good man. I know that the government has accused him of
   taking advantage of me and forcing me to return money. I am a member of Agape Cottage
   Carepartners, LLC and accepted the money that Labor Department ordered. I decided to return the
   money to my own company, Agape Cottage Carepartners, LLC at my own will.

             I thank you in advance in giving me a chance to speak. Please keep, my friend, Joey Alvarez out
   of jail as a lot of people like me who he continues to help, depends on him. We also ask him for help a
   lot in our care giving business. A lot of people depend on him. If you want to speak to me to ask me
   anything, you can call me at (714) 401-3311. I testify that Joey Alvarez is a good man.



   Sincerely,


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   Maruj Camillon
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   February 6, 2019



   Dear Honorable Magistrate, Judge Douglas F. McCormick,

            I am writing this letter to humbly request your kind consideration and forgiveness to my
   husband, Joseph U. Alvarez, in your sentencing decision. I ask with a grieving heart for your
   consideration to see and consider Joey's good character as a family man who is a loving, kind,
   responsible, attentive, and active father and husband to our family. Everyday Joey and I eat breakfast
   with our children and he takes our daughters to school daily because he wants to make sure to start the
   day with our children before we go to work to serve the senior community. With the many
   conversations that I have had with Joey, he is heartily sorry for any misdeeds he may have done that
   offended or hurt anyone or any laws that he broke. He has always had high hopes and dreams for the
   caregivers we work with and always dreamt of bringing back a "FAMILY" relationship and environment
   to the seniors who are so vulnerable and require a nurturing and loving family environment. With his
   desire for bringing "Family" in our senior homes, he has thought "outside of the box" with trying to
   partner with caregivers but in the process offended the Labor Department and the Government. I am
   truly sorry as I speak as his other half, to anyone, my husband has offended or hurt. This whole ordeal
   has been hard for me as I try my best to focus my energy and attention to something that would bear
   and grow good fruits, as I choose to continue to focus on God, our family, our children, the seniors, the
   caregivers, the homeless, and the brain injury population that we are committed to helping. It is my
   prayer and my request that through this painful ordeal, something beautiful and progressive will be
   born. I ask with humility, for your consideration, that instead of locking up Joey in prison, that you
   would have mercy upon Joey and my family to sentence Joey with more community service, to serve the
   people that we love; the seniors, the caregivers, the homeless, the brain injury, people with assistance
   in daily living needs. He is a good person who is a productive part of society who continues to serve the
   community and who remains to have a desire to keep helping despite the challenges our family and he
   has been through. Please keep Joey out of jail as our family depends greatly on him.

           I speak with a grateful heart to you, your honor for being generous with your time to read my
   plea for mercy on my husband, Joseph Alvarez. Your time, attention, and consideration is something I
   am truly thankful to Almighty God for.



                                                            With Sincerity and Respect,



                                                            Marian Mejia
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  To the Honorable Judge Douglas F. McCormick:



 I have worked with Joey Alvarez and Agape for several years now in the
 capacity of caregiving administration and ownership in caring for the Elderly. I
 bwart k this bushless during a time when ancl my Family had lost eveiything
 and were living in a hotel. At such time, Joey Alvarez gave me work and the
 opportunity to grow in this business, for which I am grateful. I have worked
 side-by-side with Joey Alvarez and most of, if not all of, the Care Partners since
 I began in this industry. I am aware of the allegations brought against Mr.
 Alvarez by the labor department. I can say with certainty that I personally have
 never seen or heard Mr. Alvarez act inappropriately or in a manner of forcing the
 Care Partners to do anything against their will. I've watched him treat the Care
 Partners, their Families and the Elderly with the upmost respect. I know Joey as
 my business partner and I know him as a wonderful Father to his three young
 Daughters. I respectfully ask that you consider my letter when reviewing your
 decision. Thank you for you time,
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   February 5, 2019


   Honorable Magistrate
   Judge Douglas F. McCormick United States District Court 411 W. 4th Street
   Santa Ana, CA 92701

   Re: Joey Alvarez                      (USA v. Alvarez; Case# 8: I 8-cr-00048-DFM)


   Your Honor:

   My name is Jeff Turcotte. I reside in Irvine in Orange County and have been acquainted with
   Joey Alvarez for more than 5 years. He and his family attend the same church I do, and he and I
   have attended Bible studies and a weekend retreat together.

   Whereas I have been only peripherally aware of his legal problem in this regard, I am concerned
   for his family and the many elders/seniors he helps to provide for via his business. I am
   certainly not qualified to comment on his guilt or innocence with regard to this matter, but I
   feel very comfortable declaring that any wrongdoing was out of ignorance or misunderstanding
   as opposed to any overt effort to avoid or mitigate his tax liabilities. I know Joey as an honest
   and God-fearing man.

   His primary goal and mission are to provide family-like love and care for elders whose families
   can or will not do so. He truly cares and has created a new paradigm for the care of our seniors
   in southern California. I believe that everyone involved in providing caregiving in any and all
   CareAgape homes would relate to you that his heart is in the right place and that none of them
   was treated unfairly or with any malice or greed.

   I know that he has no doubt learned from this experience and he will remedy any and all
   processes, practices or behaviors related to this particular matter. In my humble opinion, he is
   not the type of person who belongs in jail. He belongs with his immediate family of three
   daughters and a loving wife. Additionally, he belongs in a position of furthering his delivery of
   loving care of seniors in environments that nurture them, care for them and treat them as
   family.

   I respectfully ask that you judge him with leniency and mercy — and permit him to advance his
   mission to serve the elderly — in total compliance with all applicable laws. I appreciate your
   consideration on his behalf.

   Respectfully,


     ffrey Turcatte
